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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

A.S.R., on his own behalf and on behalf of
others similarly situated,

Petitioners,

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)
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)
)
Vv. ) Civil Case No. 3:25-cv-00113-SLH
)
DONALD J. TRUMP, et al., )

)

)

Respondents.

ORDER OF COURT

AND NOW, this 15" day of April, 2025, upon due consideration of Petitioners’ Emergency
Application for a Temporary Restraining Order [Doc. 2]; and, in order to preserve the status quo
and to prevent irreparable harm to movants just so long as is necessary to develop a fuller record
and to hold a hearing on Petitioners’ application for a temporary restraining order, see Hope v.
Warden York County Prison, 956 F.3d 156, 160 (3d Cir. 2020); and, pursuant to 28 U.S.C. § 1651,
in order to preserve this Court’s potential jurisdiction in this matter; accordingly, pursuant to
Federal Rule of Civil Procedure 65(b), IT IS ORDERED that Respondents hereby are temporarily
enjoined, pending further order of this Court, from either removing Petitioner or any members of
the putative class from the United States, or from transferring Petitioner or any members of the
putative class from the Western District of Pennsylvania. This Court finds that Petitioner and
members of the putative class have demonstrated that irreparable harm will result if they are
transferred from this district or removed from the United States prior to a response and hearing;

and,
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IT FURTHER IS ORDERED that Petitioners’ counsel is directed to serve Respondents
with a copy of the class action petition for a writ of habeas corpus, application for temporary
restraining order and all accompanying papers, along with a copy of this Order, by email to the
United States Attorney’s Office for the Western District of Pennsylvania, and promptly to file
proof of such service on the docket; and,

IT FURTHER IS ORDERED that Respondents shall file a response to Petitioners’
Emergency Application for a Temporary Restraining Order [Doc. 2] on or before April 16, 2025;
and,

IT FURTHER JS ORDERED that a hearing on Petitioners’ emergency application for a
temporary restraining order [Doc. 2] hereby is scheduled for Friday, April 18, 2025, at 11:00
a.m., in Courtroom A, 319 Washington Street, Johnstown, Pennsylvania, before Judge Stephanie
L. Haines; and,

IT FURTHER IS ORDERED that this order shall expire upon this Court’s resolution of

Petitioners’ application for a temporary restraining order.

/ Stephan
“United States District Judge
